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 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
     CREATIVE PHOTOGRAPHERS, INC., Case No.
10   a New York Corporation,
11                                 Plaintiff’s Complaint for Copyright
     Plaintiff,                    Infringement
12

13   v.                                             Jury Trial Demanded

14   MEDIA122, LLC, a California Limited
15   Liability Company; and DOES 1-10,
16   Defendants.
17

18

19             Plaintiff Creative Photographs, Inc. (“CPI”) hereby prays to this honorable
20   Court for relief based on the following:
21                               JURISDICTION AND VENUE
22             1.    This action arises under the Copyright Act of 1976, 17 U.S.C. § 101,
23   et seq.
24             2.    This Court has federal question jurisdiction under 28 U.S.C. §§ 1331,
25   1338(a)-(b).
26             3.    Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c)
27   and 1400(a) because this is the judicial district in which a substantial part of the
28   acts and omissions giving rise to the claims occurred.
                                                 1
                                             COMPLAINT
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 1                                         PARTIES
 2         4.     CPI is a New York-based premier photographic syndication company
 3   that provides photos of models and celebrities created by internationally renowned
 4   photographers to communication and media businesses. CPI exclusively
 5   administers the copyrights at issue in this action, and thus has standing to maintain
 6   this action under 17 U.S.C. § 501(b).
 7         5.     Upon information and belief, Defendant Media122, LLC is a
 8   California limited liability company with its principal places of business located at
 9   120 Newport Center Drive, Suite 100, Newport Beach CA 92660; and 855 N.
10   Douglas St., El Segundo, CA 90245. Media122 owns, operates, and/or controls the
11   commercial website top5.com and its related/affiliated subdomains, mobile
12   websites, social media pages, and applications (collectively, “Defendants’
13   Website”).
14         6.     Upon information and belief, Defendants Does 1-10 (collectively,
15   “Doe Defendants”) (altogether with Media122, “Defendants”), are other parties not
16   yet identified who have infringed the asserted copyrights, have contributed to the
17   infringement of those copyrights, or have engaged in one or more of the wrongful
18   acts alleged herein. The true names, whether corporate, individual, or otherwise, of
19   Doe Defendants are presently unknown to CPI, which therefore sues said Doe
20   Defendants by such fictitious names, and will seek leave to amend this Complaint
21   to show their true names and capacities when the same have been ascertained.
22         7.     Upon information and belief, each of the Defendants was the agent,
23   affiliate, officer, director, manager, principal, alter-ego, and/or employee of the
24   other Defendants, and was at all times acting within the scope of such agency,
25   affiliation, alter-ego relationship, and/or employment; and actively participated in,
26   subsequently ratified, and/or adopted each of the acts or conduct alleged, with full
27   knowledge of each violation of CPI’s rights and the damages to CPI’s proximately
28   caused thereby.

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                                           COMPLAINT
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 1                      MEDIA122’S UNAUTHORIZED USES OF
 2                           THE SUBJECT PHOTOGRAPHS
 3         8.      CPI is the exclusive syndicator of two original photographs registered
 4   with the U.S. Copyright Office (collectively, the “Subject Photographs”), and
 5   represents the photographers who took the Subject Photographs. Accordingly, CPI
 6   has standing to maintain this action under 17 U.S.C. § 501(b).
 7         9.      Following the publication and display of the Subject Photographs,
 8   Defendants, and each of them, stored, displayed, distributed, and/or otherwise
 9   exploited verbatim copies of the Subject Photographs for commercial purposes on
10   Defendants’ Website without CPI’s permission (the “Accused Posts”).
11         10.     The Subject Photographs and screen captures of the Accused Posts are
12   set forth below:
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14               Subject Photographs                         Accused Posts

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27                  VA 2-238-466
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                                          COMPLAINT
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 1               Subject Photographs                         Accused Posts

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16           SHOT_01_0090_v4-scr

17                  VA 2-105-011
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19         11.     To the extent Media122 exploited the Accused Posts (and/or any/all
20   other copies of the Subject Photographs) more than three years before the filing of
21   this case, CPI did not know, and had no reason to know, of such exploitation(s).
22         12.     In December 2023, CPI sent correspondence to Media122 demanding
23   that it remove the Accused Posts from Defendants’ Website and provide CPI with
24   information regarding the full scope of Media122’s unauthorized exploitation of
25   the Subject Photographs in an effort to explore an amicable resolution to this
26   dispute. Because Media122 refused to provide that information, CPI now seeks
27   relief from this Court.
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                                          COMPLAINT
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 1                               FIRST CLAIM FOR RELIEF
 2                 (For Copyright Infringement – Against All Defendants)
 3         13.      CPI incorporates by reference the allegations contained in the
 4   preceding paragraphs.
 5         14.      Upon information and belief, Defendants, and each of them, accessed
 6   the Subject Photographs by, among other things, viewing the Subject Photographs
 7   at CPI’s and/or the relevant photographers’ website(s), profiles, galleries,
 8   exhibitions, and/or social media pages; through third-party publications, websites,
 9   or Internet search engines; and/or because the Accused Posts are verbatim
10   reproductions of, and thus strikingly similar to, the Subject Photographs.
11         15.      Defendants, and each of them, stored, displayed, distributed, and/or
12   otherwise exploited verbatim copies of the Subject Photographs for commercial
13   purposes on Defendants’ Website without CPI’s permission.
14         16.      Due to Defendants’ acts of copyright infringement, CPI has suffered
15   damages in an amount to be established at trial.
16         17.      Due to Defendants’ acts of copyright infringement, Defendants, and
17   each of them, have obtained profits they would not have realized but for their
18   infringement of the copyrights in the Subject Photographs. As such, CPI is entitled
19   to disgorgement of Defendants’ profits attributable to Defendants’ infringement in
20   an amount to be established at trial.
21         18.      Upon information and belief, Defendants, and each of them, infringed
22   the copyrights in the Subject Photographs with actual or constructive knowledge
23   of, or with reckless disregard or willful blindness for, the copyrights in the Subject
24   Photographs, rendering Defendants’ infringements willful.
25                                 PRAYER FOR RELIEF
26         Wherefore, CPI prays for judgment as follows:
27               a. That Defendants, each of them, their respective agents, and anyone
28                  working in concert with Defendants’ and/or their agents, be enjoined

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                                             COMPLAINT
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 1               from copying, storing, displaying, reproducing, creating derivative
 2               works of, distributing, and/or otherwise exploiting the Subject
 3               Photographs without a license, authorization, or consent from Plaintiff
 4               in a manner that infringes the copyrights in the Subject Photographs;
 5            b. That Plaintiff be awarded all Defendants’ profits, and all Plaintiff’s
 6               losses, attributable to Defendants’ infringement, the exact sum to be
 7               proven at the time of trial; or alternatively, if elected, statutory
 8               damages as available under 17 U.S.C. § 504;
 9            c. That Plaintiff be awarded its costs and fees as available under 17
10               U.S.C. § 505;
11            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
12            e. That Plaintiff be awarded such further legal and equitable relief as the
13               Court deems proper.
14                                    JURY DEMAND
15         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
16   P. 38 and the 7th Amendment to the United States Constitution.
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18                                           Respectfully submitted,
19   Dated: March 1, 2024             By:    /s/ Stephen M. Doniger
20                                           Stephen M. Doniger, Esq.
                                             Benjamin F. Tookey, Esq.
21                                           DONIGER/BURROUGHS
22                                           Attorneys for Plaintiff

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                                            COMPLAINT
